  Case 18-01889-dd             Doc 13 Filed 07/18/18 Entered 07/19/18 00:38:46                              Desc Imaged
                                     Certificate of Notice Page 1 of 4
                                               United States Bankruptcy Court
                                                  District of South Carolina



Case Number: 18−01889−dd                                        Chapter: 7

In re:
 JoEtta Hawkins Laswell
 aka JoEtta Monk, aka JoEtta Freeman
                                                                                                      Filed By The Court
  Entered By The Court ORDER DISCHARGING DEBTOR(S) AND TRUSTEE AND CLOSING                                  7/16/18
         7/16/18                            THE CASE                                                     Laura A. Austin
                                                                                                          Clerk of Court
                                                                                                       US Bankruptcy Court



The trustee, having certified that the estate of the above−named debtor(s) has been fully administered, and it appearing that the
debtor(s) having met the requirements for discharge under 11 USC § 727,

1. The debtors(s), JoEtta Hawkins Laswell, are granted a discharge;

2. The trustee is discharged as the trustee of this case; and

3. The chapter 7 case of the above−named debtor(s) is closed.
   IT IS SO ORDERED.




                                                                 Chief United States Bankruptcy Judge




                             SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION
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Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,        This order does not prevent debtors from paying
and it does not determine how much money, if          any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                  debts according to the reaffirmation agreement.
                                                      11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any             Most debts are discharged
attempt to collect a discharged debt from the         Most debts are covered by the discharge, but not
debtors personally. For example, creditors            all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,       personal liability for debts owed before the
or otherwise try to collect from the debtors          debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise      Also, if this case began under a different chapter
in any attempt to collect the debt personally.        of the Bankruptcy Code and was later converted
Creditors who violate this order can be required      to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.           are discharged.
However, a creditor with a lien may enforce a         In a case involving community property: Special
claim against the debtors' property subject to that   rules protect certain community property owned
lien unless the lien was avoided or eliminated.       by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to         not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

Some debts are not discharged                         Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:        agreement are not discharged.

     ♦ debts that are domestic support                In addition, this discharge does not stop
       obligations;                                   creditors from collecting from anyone else who is
                                                      also liable on the debt, such as an insurance
                                                      company or a person who cosigned or
     ♦ debts for most student loans;                  guaranteed a loan.


     ♦ debts for most taxes;
                                                       This information is only a general summary
     ♦ debts that the bankruptcy court has             of the bankruptcy discharge; some
       decided or will decide are not discharged       exceptions exist. Because the law is
       in this bankruptcy case;                        complicated, you should consult an
                                                       attorney to determine the exact effect of the
                                                       discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.
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                                      United States Bankruptcy Court
                                       District of South Carolina
In re:                                                                                 Case No. 18-01889-dd
JoEtta Hawkins Laswell                                                                 Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0420-2          User: admin                  Page 1 of 2                   Date Rcvd: Jul 16, 2018
                              Form ID: 166BNC              Total Noticed: 48


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 18, 2018.
db             +JoEtta Hawkins Laswell,     13492 Browns Ferry Road,     Georgetown, SC 29440-7569
543409239      +Allison Sippel Peteet,    Georgetown County Treasurer,      P.O. Box 421270,
                 Georgetown SC 29442-4200
543409242       American Mint,    P.O. Box 10,    Mechanicsburg PA 17055-0010
543409244       Athens-Limestone Hospital,     P.O. Box 2252 Dept. 3120,     Birmingham AL 35246-3120
543409247       Branch B&t,    Credit Card Disputes,     Wilson NC 27894
543409254      +CDC Properties LLC,    158 Naomi Drive,     Rogersville AL 35652-6888
543409251      +Ccs/first National Ban,     500 E 60th St N,    Sioux Falls SD 57104-0478
543409255      +Centerpoint Energy Ent,     Po Box 1700,    Houston TX 77251-1700
543409256      +Chase Auto,    Po Box 901003,    Ft Worth TX 76101-2003
543409258      +Chip Daniels,    Bail Bond,    913 Church Street,    Georgetown SC 29440-3511
543409260      +City of Athens Alabama,     P.O. Box 1089,    Athens AL 35612-1089
543409261      +Dept Of Ed/582/nelnet,    Po Box 173904,     Denver CO 80217-3904
543409252     ++FIRST SAVINGS BANK,    PO BOX 5096,    SIOUX FALLS SD 57117-5096
               (address filed with court: Ccs/first Savings Bank,        500 East 60th St North,
                 Sioux Falls SD 57104)
543409264       First Savings Credit Card,     P.O. Box 2509,    Omaha NE 68103-2509
543409265      +First Svg Cc,    500 East 60th St North,     Sioux Falls SD 57104-0478
543409266      +Fnb Hot Sprg,    P O Box 22090,    Hot Springs AR 71903-2090
543409267       Forbes Heating & Air,    3924 Highmarket Street,     Georgetown SC 29440
543409271       Island Medical Athens, LLC,     P.O. Box 74595,    Cleveland OH 44194-0002
543409273       National Park Medical Center,     P.O. Box 290429,    Nashville TN 37229-0429
543409274      +Nissan Motor Acceptanc,     Po Box 660360,    Dallas TX 75266-0360
543409277       Southern Medical Associates,     P.O. Box 3239,    Florence SC 29502-3239
543409282      +Tidelands Health,    P.O. Box 421718,     Georgetown SC 29442-4203
543409283       UCI Medical Affiliates,     Patient billing services- Doctor’s Care,     P.O. Bix 63418,
                 Charlotte NC 28263-3418
543409284      +US Dept. of Education,    P.O. Box 7860,     Madison WI 53707-7860

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QKCAMPBELL.COM Jul 17 2018 02:03:00       Kevin Campbell,    PO Box 684,
                 Mount Pleasant, SC 29465-0684
543409240      +EDI: GMACFS.COM Jul 17 2018 02:03:00      Ally Financial,     200 Renaissance Ctr,
                 Detroit MI 48243-1300
543409241       EDI: AMEREXPR.COM Jul 17 2018 02:03:00       American Express,    P. O. Box 360001,
                 Fort Lauderdale FL 33336-0001
543409243      +EDI: AMEREXPR.COM Jul 17 2018 02:03:00       Amex,   Po Box 297871,
                 Fort Lauderdale FL 33329-7871
543409246       EDI: BANKAMER.COM Jul 17 2018 02:03:00       Bk Of Amer,    Po Box 982238,    El Paso TX 79998
543409245       E-mail/Text: bankruptcy@bbandt.com Jul 16 2018 22:06:01        Bb&t,    Po Box 1847,
                 Wilson NC 27894
543409248       EDI: CAPITALONE.COM Jul 17 2018 02:03:00       Capital One,    15000 Capital One Dr,
                 Richmond VA 23238
543409249      +EDI: CAPITALONE.COM Jul 17 2018 02:03:00       Capital One-Buy Power,     26525 N Riverwoods Blvd,
                 Mettawa IL 60045-3440
543409250      +EDI: CAPITALONE.COM Jul 17 2018 02:03:00       Capital One-Quicksilver,     15000 Capital One Dr,
                 Richmond VA 23238-1119
543409257      +EDI: CHASE.COM Jul 17 2018 02:03:00      Chase Card,     Po Box 15298,    Wilmington DE 19850-5298
543409259      +EDI: CITICORP.COM Jul 17 2018 02:03:00       Citi,   Po Box 6241,     Sioux Falls SD 57117-6241
543409262      +EDI: DISCOVER.COM Jul 17 2018 02:03:00       Discover Fin Svcs Llc,     Po Box 15316,
                 Wilmington DE 19850-5316
543409263      +EDI: AMINFOFP.COM Jul 17 2018 02:03:00       First Premier Bank,     601 S Minnesota Ave,
                 Sioux Falls SD 57104-4868
543409268      +E-mail/Text: bankruptcies@foxcollection.com Jul 16 2018 22:06:09         Fox Collection Center,
                 Radiology of Huntsville,    454 Moss Trail,    Goodlettsville TN 37072-2029
543409270       EDI: IRS.COM Jul 17 2018 02:03:00      Internal Revenue Service,      P.O. Box 57,
                 Bensalem PA 19020
543409272       EDI: RMSC.COM Jul 17 2018 02:03:00      Lowe’s,    P.O. Box 530914,     Atlanta GA 30353-0914
543409521      +EDI: PRA.COM Jul 17 2018 02:03:00      PRA Receivables Management, LLC,      PO Box 41021,
                 Norfolk, VA 23541-1021
543409275      +E-mail/Text: Bankruptcy@redfcu.org Jul 16 2018 22:06:06        Redstone Fcu,    220 Wynn Dr Nw,
                 Huntsville AL 35893-0001
543409276      +E-mail/Text: bankruptcy@sctax.org Jul 16 2018 22:06:25        SC Department of Revenue,
                 P.O. Box 12265,   Columbia SC 29211-2265
543409278      +E-mail/Text: home.fss-bankruptcy.934c00@statefarm.com Jul 16 2018 22:06:17         State Farm,
                 One State Farm Plaza,    Bloomington IL 61710-0001
543409279      +EDI: STFM.COM Jul 17 2018 02:03:00      State Farm Fncl Svcs F,      3 State Farm Plz,
                 Bloomington IL 61791-0002
543409280      +EDI: RMSC.COM Jul 17 2018 02:03:00      Syncb/belk,    Po Box 965028,     Orlando FL 32896-5028
543409281       EDI: RMSC.COM Jul 17 2018 02:03:00      Syncb/walmar,     Po Box 965024,    El Paso TX 79998
543409285       EDI: RMSC.COM Jul 17 2018 02:03:00      Walmart,    Po Box 965024,     El Paso TX 79998
                                                                                                TOTAL: 24
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                                      Form ID: 166BNC                    Total Noticed: 48


              ***** BYPASSED RECIPIENTS (continued) *****

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*               +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
543409269*       ++FIRST SAVINGS BANK,   PO BOX 5096,   SIOUX FALLS SD 57117-5096
                  (address filed with court: Fsb Blaze,    5501 S Broadband Ln,   Sioux Falls SD 57108)
543409253       ##+CDC Properties LLC,   24775 Savannah Trail,   Athens AL 35613-5311
                                                                                               TOTALS: 0, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 18, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 16, 2018 at the address(es) listed below:
              C. Reuben Goude   on behalf of Debtor JoEtta Hawkins Laswell reubengoude@earthlink.net
              Kevin Campbell    kcampbell@campbell-law-firm.com, kcampbell@ecf.epiqsystems.com
              US Trustee’s Office    USTPRegion04.CO.ECF@usdoj.gov
                                                                                            TOTAL: 3
